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                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF LOUISIANA

MMR CONSTRUCTORS, INC.,                             :   CIV. NO. 22-267
                                                    :
        Plaintiff,                                  :
                                                    :
VERSUS                                              :   JUDGE BRIAN A. JACKSON
                                                    :
JB GROUP OF LA, LLC D/B/A                           :
INFRASTRUCTURE SOLUTIONS, et al.                    :
                                                    :   MAGISTRATE JUDGE RICHARD L.
        Defendants.                                 :   BOURGEOIS, JR.


                   RESPONSES TO ISG’S THIRD SET OF REQUESTS FOR
               PRODUCTION OF DOCUMENTS TO MMR CONSTRUCTORS, INC

        NOW INTO COURT, through undersigned counsel, comes Plaintiff MMR Constructors,

Inc. (“MMR”), which in response to Defendant, JB Group of LA, LLC d/b/a Infrastructure

Solutions Group’s Third Set of Requests for Production of Documents, respectfully submits the

following:

REQUEST NO. 1.

        Documents reflecting, concerning, or relating to MMR’s Communications with current,

former, and/or prospective customers concerning or relating to ISG, this Lawsuit, and/or

MMR’s allegations against Defendants.

        RESPONSE TO REQUEST NO. 1:

        MMR objects to this request because it is not proportional to the needs of the case. The

request does not seek any documents that tend to prove or negate an issue of fact relating to a

cause of action or defense in this case. Further, MMR has thousands of employees and

numerous customers (current, former, and/or prospective), and the time and effort to search

numerous email accounts for communications — that may or may not reference ISG or this

lawsuit (including the allegations within it) — would be exorbitant. Accordingly, the time and


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expense far outweigh any potential probative value of the documents requested, and this

request is therefore not tailored in a proportional manner.

REQUEST NO. 2.

        Communications between MMR, or anyone on MMR’s behalf, and any competitor of

MMR, including, but not limited to, ISC Constructors (or anyone on that competitor’s behalf)

concerning or relating to allegations that MMR, or any MMR employee, officer, or owner,

possessed, used, and/or disclosed any confidential and/or trade secret information of that

competitor.

        RESPONSE TO REQUEST NO. 2:

        MMR objects to this request as not proportional to the needs of this case. There is no

claim that MMR has misappropriated any information; nor has there been any assertion that

MMR has misappropriated any competitor’s information. Additionally, as ISG is aware, MMR

has never been involved in any litigation in which MMR has been accused of misappropriating

a competitor’s information. Further, while, nearly ten years ago, ISC Constructors sent a letter

to MMR inquiring about a former employee of ISC Constructors, the companies agreed that the

employee did not engage in any misappropriation of competitive data, resulting in no litigation

or any further concerns or discussions.

REQUEST NO. 3.

        Communications between or including MMR personnel concerning or relating to any

allegations that MMR, or any MMR employee, officer, or owner possessed, used, and/or

disclosed any confidential and/or trade secret information of a competitor (including, but not

limited to, ISC Constructors). This includes, but is not limited to, Communications involving




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Pepper Rutland, Jason Templet, Vance Mitchell, Wayne Radley, John Clouatre, Mike Kee,

Pepper Rutland, and/or Roddy Risponi.

        RESPONSE TO REQUEST NO. 3:

        MMR objects to this request as not proportional to the needs of this case. There is no

claim that MMR has misappropriated any information; nor has there been any assertion that

MMR has misappropriated any competitor’s information. Additionally, as ISG is aware, MMR

has never been involved in any litigation in which MMR has been accused of misappropriating

a competitor’s information. Further, while sometime around May 2015, ISC Constructors sent a

letter to MMR inquiring about a former employee of ISC Constructors, who left ISC

Constructors’ employ to join MMR, the companies agreed that the employee did not engage in

any misappropriation of competitive data, resulting in no litigation or any further concerns or

discussions. Finally, to the extent that this request seeks communications relating to MMR’s

legal response to a letter concerning a former employee of ISC Constructors (which this request

seems to seek, based on the listing of MMR’s general counsel), those communications are

privileged.

REQUEST NO. 4.

        Documents which indicate MMR’s historical win/loss record on customer bids and

proposals, from 2019 forward.

        RESPONSE TO REQUEST NO. 4:

        MMR will produce information that reflects MMR’s historical win/loss record on

bids/proposals, as MMR’s expert on damages has indicated that this information will likely be

relied upon to issue his opinion. However, MMR has requested similar information from ISG

(see MMR’s RFP No. 59), as well as other damage-related discovery, but ISG has refused to



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produce that information. Accordingly, MMR request a meet and confer to discuss the timing

of damage-related productions.

REQUEST NO. 5.

        Documents prepared by or for MMR, or used by MMR, which demonstrate, reflect,

analyze, or discuss MMR’s market share and/or competitive position, from 2019 forward.

        RESPONSE TO REQUEST NO. 5:

        MMR will produce information that reflects MMR’s market share for the requested

time period (to the extent it exists), as MMR’s expert on damages has indicated that this

information will likely be relied upon to issue his opinion. However, MMR has requested

damage related discovery, but ISG has refused to produce that information. Accordingly, MMR

request a meet and confer to discuss the timing of damage-related productions.

REQUEST NO. 6.

        Documents, including, but not limited to, market research reports, prepared by or for

MMR, or used by MMR, which analyze or discuss the market for MMR’s Services, from

2019 forward.

        RESPONSE TO REQUEST NO. 6:

        MMR will produce information that reflects MMR’s market share for the requested

time period (to the extent it exists), as MMR’s expert on damages has indicated that this

information will likely be relied upon to issue his opinion. However, MMR has requested

damage related discovery, but ISG has refused to produce that information. Accordingly, MMR

request a meet and confer to discuss the timing of damage-related productions.

REQUEST NO. 7.

        For each of the Subject Customers and Projects, from 2019 forward:



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                a)    MMR’s contracts with or for the Subject Customers and Projects;

                b)    Each of the quotes, bids, and proposals submitted by MMR for the

                Subject Customers and Projects;

                c)    Each of the invoices submitted by MMR with respect to the Subject

                Customers and Projects;

                d)    Documents which indicate MMR’s win/loss record on bids and

                proposals for the Subject Customers and Projects;

                e)    Documents sufficient to show the monthly revenue MMR received from

                the Subject Customers and Projects;

                f)    Documents sufficient to show the Services MMR provided to the Subject

                Customers and Projects.

        RESPONSE TO REQUEST NO. 7:

        MMR objects to this request as not proportional to the needs of the case. The time

period covered by this request even precedes ISG’s entry into the market. Further, MMR has

requested in discovery that ISG identify all projects that ISG has bid on and/or won since its

inception (see MMR’s RFP Nos. 45, 48). The evidence demonstrates that ISG has used MMR’s

trade secrets and/or confidential business information to obtain work. Once ISG identifies those

projects, MMR will produce information relating to those projects, including whether MMR

bid on the projects, its win/loss record on bids with that customer, and the revenue numbers

associated with that customer. At this point, however, MMR does not and cannot know whether

MMR bid on a project that was eventually awarded to ISG. What MMR can tell is that ISG has

used MMR’s trade secrets and confidential business information to go after work — which has

generated unjust profits and unjustly increase the value of ISG.



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REQUEST NO. 8.

        For each of the Subject Customers and Projects, from April, 2021, forward:

                a)    Documents reflecting, concerning, or relating to any complaints MMR

                received and MMR’s response to the complaints;

                b)    Documents reflecting, concerning, or relating to any customer cancelling

                or terminating its agreements or relationship with MMR, including, but not

                limited, the reasons for such cancellation or termination;

                c)    Documents reflecting, concerning, or relating to any customer banning

                MMR and/or its personnel, including, but not limited to, the reasons for such

                banning.

        RESPONSE TO REQUEST NO. 8:

        MMR has requested in discovery for ISG to identify all projects that ISG has bid on

and/or won since its inception. The evidence demonstrates that ISG has used MMR’s trade

secrets and/or confidential business information to obtain work on any such projects, which

makes this request not proportional to the needs of the case. Regardless of how MMR

performed on a particular job for a particular customer has no bearing on the unjust profits that

ISG has received from the illegal use of MMR’s trade secrets and confidential business

information. Further, even if MMR’s performance on a particular project, for a particular

customer, were relevant to the question of damages, ISG has objected to identifying the

projects that it has won since its inception, and thus, MMR does not know which projects it

may have lost to ISG, such that any purported complaint or issue relating to that project or

customer would be even remotely relevant.




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REQUEST NO. 9.

        For the Estimating Tools MMR claims are its trade secrets allegedly misappropriated by

Defendants, the Documents, at any time, that reflect, demonstrate, calculate, or record to the

time expended and cost to create or develop such Estimating Tools. This may include, but is

not limited to, general ledgers which reflect detailed research and development (“R&D”)

expenses, R&D budgets, time records by R&D (or other) employee for time and labor

expended, pay records which reflect R&D (or other) employee hourly rates, and detail of non-

labor and capital expenses including supporting invoices.

        RESPONSE TO REQUEST NO. 9:

        MMR notes that the phrase “Estimating Tools” is capitalized but is not defined, so

MMR objects to the extent that this phrase means anything other than how MMR would

understand that phrase. Subject to and without waiving this objection, MMR states that its

Estimating Tools were created, developed, and refined over several years by executive-level

members and employees within MMR’s construction and estimating departments or with

estimating responsibilities. MMR did not track the time that was invested on the estimating

tools that ISG misappropriated and began to use for its own purposes. However, to the extent

MMR’s expert on damages develops an opinion on the value of the misappropriated estimating

tools, MMR will produce the underlying documents (if any) that its expert relies upon to issue

that opinion.




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REQUEST NO. 10.

        All Documents, at any time, reflecting, concerning, or relating to any valuation of, or

identifying the value of, the Estimating Tools that MMR claims are its trade secrets allegedly

misappropriated by Defendants.

        RESPONSE TO REQUEST NO. 10:

        MMR notes that the phrase “Estimating Tools” is capitalized but is not defined, so

MMR objects to the extent that this phrase means anything other than how MMR would

understand that phrase. Subject to and without waiving this objection, MMR states that, before

this litigation, MMR had not sought a valuation of its estimating tools. However, to the extent

MMR’s expert on damages develops an opinion on the value of the misappropriated estimating

tools, MMR will produce the underlying documents (if any) that its expert relies upon to issue

that opinion.

REQUEST NO. 11.

        For each additional category of MMR documents or information (other than Estimating

Tools) that MMR claims constitutes its trade secrets and/or confidential business information

allegedly misappropriated by Defendants, the Documents, at any time, that reflect, demonstrate,

calculate, or record the time expended and cost to develop each such alleged trade secret and/or

confidential business information. This may include, but is not limited to, general ledgers which

reflect detailed research and development (“R&D”) expenses, R&D budgets, time records by

R&D (or other) employee for time and labor expended, pay records which reflect R&D (or

other) employee hourly rates, and detail of non-labor and capital expenses including

supporting invoices.




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        RESPONSE TO REQUEST NO. 11:

        MMR did not individually track the time or cost associated with the creation of the

individual trade secrets and confidential business information that fall within these other

categories of information that ISG misappropriated from MMR. However, to the extent MMR’s

expert on damages develops an opinion on the value of certain documents that fall within these

other categories, MMR will produce the underlying documents that its expert relies upon (if

any) to issue that opinion.

REQUEST NO. 12.

        All Documents, at any time, reflecting, concerning, or relating to any valuation of, or

identifying the value of, the additional categories of documents or information (other than

Estimating Tools) that MMR claims constitutes its trade secrets and/or confidential business

information allegedly misappropriated by Defendants.

        RESPONSE TO REQUEST NO. 12:

        MMR states that, before this litigation, MMR had not sought a valuation of the

misappropriated trade secrets and confidential business information that fall within categories

other than estimating tools. However, to the extent MMR’s expert on damages develops an

opinion on the value of the misappropriated information that falls within the categories of

misappropriated documents other than estimating tools, MMR will produce the underlying

documents that its expert relies upon (if any) to issue that opinion.

REQUEST NO. 13.

        For 2019 forward, MMR’s project level profit and loss statements for Services,

including sales revenue by service, cost of goods sold, gross profit, detailed selling, general,




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and administrative (SG&A) expenses, and operating and net profits, on a monthly, quarterly,

and annual basis.

        RESPONSE TO REQUEST NO. 13:

        MMR objects to this request in that the phrase “project level profit and loss statements”

is vague and undefined. MMR further objects to producing profit and loss statements for each

location or business unit within MMR. Subject to and without waiving these objections, MMR

will produce profit and loss statements for the relevant locations and business units at issue

here, as MMR’s expert on damages has indicated that this information will likely be relied

upon to issue his opinion. However, MMR has requested similar information from ISG (see

MMR RFP Nos. 60-61), but ISG has refused to produce that information. Accordingly, MMR

request a meet and confer to discuss the timing of the damage-related productions.

REQUEST NO. 14.

        For 2019 forward, MMR’s consolidated annual audited, reviewed, or compiled financial

statements (i.e., balance sheets, income statement, and statements of cash flows), including all

footnotes.

        RESPONSE TO REQUEST NO. 14:

        MMR notes that ISG misappropriated and still has MMR’s financials from 2018, 2019,

and 2020. MMR will produce its financial statements, as MMR’s expert on damages has

indicated that this information will be relied upon to issue his opinion. However, MMR has

requested similar information from ISG (see MMR RFP Nos. 60, 62-63), but ISG has refused

to produce that information. Accordingly, MMR request a meet and confer to discuss the

timing of the damage-related productions.




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REQUEST NO. 15.

        MMR’s customer list, for 2019 forward.

        RESPONSE TO REQUEST NO. 15:

        MMR objects to the scope of this request to the extent it seeks information relating to

customers within locations that are not relevant to this case. Subject to and without waiving this

objection, MMR will produce a customer list tailored to the relevant locations, as MMR’s expert

on damages has indicated that this information will likely be relied upon to issue his opinion.

However, MMR has requested damage-related information from ISG, but ISG has refused to

produce that information. Accordingly, MMR request a meet and confer to discuss the timing of

the damage-related productions.

REQUEST NO. 16.

        MMR’s revenue, by customer, and by Services, monthly, from 2019 forward.

        RESPONSE TO REQUEST NO. 16:

        MMR objects to the scope of this request to the extent it seeks information relating to

revenue generated from locations and customers that are not at issue in this case. Subject to

and without waiving this objection, MMR will produce revenue information tailored to the

relevant locations, as MMR’s expert on damages has indicated that this information will

likely be relied upon to issue his opinion. However, MMR has requested similar information

from ISG (MMR RFP No. 46), which ISG has refused to produce. Accordingly, MMR

requests a meet and confer to discuss the timing of the damage-related productions.

REQUEST NO. 17.

        MMR’s budgets, projections, and proformas for Services, from 2019 forward.




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        RESPONSE TO REQUEST NO. 17:

        MMR objects to the scope of this request to the extent it seeks information relating to

revenue generated from locations and customers that are not at issue in this case. Further,

MMR objects to the productions of pro formas as not proportional to the needs of the case,

given their having little to no relevance to a calculation of damages. Subject to and without

waiving this objection, MMR will produce budgets and projections tailored to the relevant

locations, as MMR’s expert on damages has indicated that this information will likely be

relied upon to issue his opinion. However, MMR has requested similar information from ISG

(see MMR RFP Nos. 50-53), which ISG has refused to produce. Accordingly, MMR requests

a meet and confer to discuss the timing of the damage-related productions.

REQUEST NO. 18.

        MMR customer invoices for Services, from 2019 forward.

        RESPONSE TO REQUEST NO. 18:

        MMR objects to this request as not proportional to the needs of the case. The relevant

information relating to revenue reflected in the requested invoices will be produced in

response to the requests that seek such information.

REQUEST NO. 19.

        Documents, from 2019 forward, demonstrating, reflecting, concerning, or related to the

valuation of MMR’s customer relationships.

        RESPONSE TO REQUEST NO. 19:

        MMR has not conducted a valuation of MMR’s customer relationships before this

litigation.




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REQUEST NO. 20.

        Documents reflecting, demonstrating, concerning, or relating to MMR’s business

strategy concerning or relating to ISG.

        RESPONSE TO REQUEST NO. 20:

        MMR is not aware of any documents reflecting a business strategy concerning ISG.

REQUEST NO. 21.

        Documents reflecting, demonstrating, concerning, or relating to MMR’s competitive

position versus ISG.

        RESPONSE TO REQUEST NO. 21:

        MMR is not aware of any documents reflecting MMR’s competitive position versus

ISG.

REQUEST NO. 22.

        All Documents demonstrating, concerning, or relating to Defendants’ alleged

interference with MMR’s contracts and/or business relationships with the Subject Customers

and Projects.

        RESPONSE TO REQUEST NO. 22:

        MMR objects to this request as duplicative of its previous requests. Further, MMR

objects that this request is not proportional to the needs of the case in seeking “all Documents”

relating to the interference with MMR’s customers and business relationships. Subject to and

without waiving these objections, MMR has identified the trade secrets and confidential

business information that ISG has misappropriated and used in a way that has adversely

affected and impacted MMR’s goodwill with its customers and will continue to identify those

documents until the discovery is complete.



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REQUEST NO. 23.

        All Documents demonstrating, concerning, or relating to MMR’s alleged damages

and/or harm caused by Defendants in connection with the Subject Customers and Projects.

        RESPONSE TO REQUEST NO. 23:

        MMR objects to this request as duplicative of its previous requests. Further, MMR

objects that this request is not proportional to the needs of the case in seeking “all Documents”

relating to damages. Subject to and without waiving these objections, MMR refers ISG to the

responses relating to the damage-related discovery, and requests a meet and confer to discuss

the timing of damage-related discovery from both parties.

REQUEST NO. 24.

        All Documents demonstrating, concerning, or relating to MMR’s alleged damages

and/or harm caused by Defendants, other than in connection with the Subject Customers and

Projects.

        RESPONSE TO REQUEST NO. 24:

        MMR objects to this request as duplicative of its previous requests. Further, MMR

objects that this request is not proportional to the needs of the case in seeking “all Documents”

relating to damages. Subject to and without waiving these objections, MMR refers ISG to the

responses relating to the damage-related discovery, and requests a meet and confer to discuss

the timing of damage-related discovery from both parties.

REQUEST NO. 25.

        All other Documents provided to or considered by MMR’s damages expert.




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        RESPONSE TO REQUEST NO. 25:

        None at this time, but MMR will produce the Documents that MMR’s damages expert

relies upon to issue his opinion and objects to producing any documents beyond that scope.

REQUEST NO. 26.

        All Documents provided to or considered by MMR’s liability expert, to the extent not

provided as part of the Forensic Protocol.

        RESPONSE TO REQUEST NO. 26:

        None at this time, but MMR will produce the Documents that MMR’s liability expert

relies upon to issue his opinion (to the extent one is issued) and objects to producing any

documents beyond that scope.

                                               Respectfully submitted:

                                               /s/ P.J. Kee
                                               P.J. KEE (La. Bar No. 34860)
                                               THOMAS P. HUBERT (La. Bar No. 19625)
                                               JACOB J. PRITT (La. Bar No. 38872)
                                               MICHAEL A. FOLEY (La. Bar No. 35774)
                                               JASON A. CULOTTA (La. Bar No. 35731)
                                               CONNOR H. FIELDS (La. Bar No. 39880)
                                               JONES WALKER, LLP
                                               201 St. Charles Avenue - 50th Floor
                                               New Orleans, Louisiana 70170-5100
                                               Telephone: (504) 582-8000
                                               Facsimile: (504) 589-8230
                                               Email: pkee@joneswalker.com
                                               Counsel for MMR Constructors, Inc.


                                CERTIFICATE OF SERVICE

      I hereby certify that a copy of the foregoing was served on all counsel of record by email
on November 1, 2023.

                                                        /s/ P.J. Kee
                                                        P.J. Kee



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                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF LOUISIANA

MMR CONSTRUCTORS, INC.,                            :   CIV. NO. 22-267
                                                   :
        Plaintiff,                                 :
                                                   :
VERSUS                                             :   JUDGE BRIAN A. JACKSON
                                                   :
JB GROUP OF LA, LLC D/B/A                          :
INFRASTRUCTURE SOLUTIONS                           :
GROUP and DAVID HEROMAN.                           :   MAGISTRATE JUDGE RICHARD L.
                                                   :   BOURGEOIS, JR.
        Defendants.


              SUPPLEMENTAL RESPONSE TO REQUEST NO. 3 WITHIN
        ISG’S THIRD SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS

        NOW INTO COURT, through undersigned counsel, comes Plaintiff MMR

Constructors, Inc. (“MMR”), and supplements its response to Request for Production No. 3

within Defendant, JB Group of LA, LLC d/b/a Infrastructure Solutions Group’s Third Set of

Requests for Production of Documents as follows:

REQUEST NO. 3.

        Communications between or including MMR personnel concerning or relating to any

allegations that MMR, or any MMR employee, officer, or owner possessed, used, and/or

disclosed any confidential and/or trade secret information of a competitor (including, but not

limited to, ISC Constructors). This includes, but is not limited to, Communications involving

Pepper Rutland, Jason Templet, Vance Mitchell, Wayne Radley, John Clouatre, Mike Kee,

Pepper Rutland, and/or Roddy Risponi.

        RESPONSE TO REQUEST NO. 3:

        MMR objects to this request as not proportional to the needs of this case. There is no

claim that MMR has misappropriated any information; nor has there been any assertion that

MMR has misappropriated any competitor’s information. Additionally, as ISG is aware, MMR

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has never been involved in any litigation in which MMR has been accused of misappropriating

a competitor’s information. Further, while, nearly ten years ago, ISC Constructors sent a letter

to MMR inquiring about a former employee of ISC Constructors, the companies agreed that the

employee did not engage in any misappropriation of competitive data, resulting in no litigation

or any further concerns or discussions. Finally, to the extent that this request seeks

communications relating to MMR’s legal response to a letter concerning a former employee of

ISC Constructors (which this request seems to seek, based on the listing of MMR’s general

counsel), those communications are privileged.

        SUPPLEMENTAL RESPONSE TO REQUEST NO. 3:

        Subject to and without waiving the foregoing objections, MMR supplements its response

to produce the close out letter that was sent on behalf of ISC Constructors on May 29, 2015. See

MMR-01677-01679. As this letter makes clear, ISC Constructors confirmed that MMR had

taken ISC Constructors’ concerns seriously and demonstrated that there was no evidence that

ISC Constructors’ former employee had possession of, disclosed, or was using its business

information. The letter, moreover, demonstrates how a competitor should handle concerns about

business information and stands in stark contrast to ISG’s misappropriation of MMR’s business

information. Further, the produced letter demonstrates that Request No. 3 does not seek relevant

information (given that, nearly 10 years ago, ISC Constructors was satisfied that there was no

possession, use, or disclosure of its information) and any further discovery into this nearly-

decade old conversation is a fishing expedition that is not proportional to the needs of the case.




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                                            Respectfully submitted:

                                            /s/ P.J. Kee
                                            P.J. KEE (La. Bar No. 34860)
                                            THOMAS P. HUBERT (La. Bar No. 19625)
                                            JACOB J. PRITT (La. Bar No. 38872)
                                            MICHAEL A. FOLEY (La. Bar No. 35774)
                                            JASON A. CULOTTA (La. Bar No. 35731)
                                            CONNOR H. FIELDS (La. Bar No. 39880)
                                            JONES WALKER, LLP
                                            201 St. Charles Avenue - 50th Floor
                                            New Orleans, Louisiana 70170-5100
                                            Telephone: (504) 582-8000
                                            Facsimile: (504) 589-8230
                                            Email: pkee@joneswalker.com
                                            Counsel for MMR Constructors, Inc.


                               CERTIFICATE OF SERVICE

        I hereby certify that a copy of the foregoing first supplemental responses was served on
all counsel of record by email on January 23, 2024.

                                                      /s/ P.J. Kee
                                                      P.J. Kee




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